






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00569-CR






Harry Dane Drew, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 54,166, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




	Appellant Harry Dane Drew appeals his felony conviction for operating a motor
vehicle in a public place while intoxicated, subsequent offense.  See Tex. Pen. Code Ann. §§ 49.04,
49.09(b) (West 2003). (1)  The indictment alleged three prior convictions for driving while intoxicated. 
Appellant waived trial by jury, and without a plea bargain agreement, entered a plea of guilty to the
offense alleged, and a plea of "true" to the allegations of prior convictions.  The trial court assessed
punishment at five years' imprisonment.


Point of Error

	In a sole point of error, appellant advances the contention that the "trial court erred
in its failure to consider appellant's alcoholism and the evidence of an alternative form of
punishment when it sentenced appellant to a term of imprisonment and not a substance abuse
program."


Background


	On September 11, 2003, appellant entered his pleas in a bench trial while represented
by counsel.  Appellant was duly admonished by the trial court of the consequences of his pleas
including the applicable range of punishment.  The pleas were accepted after the trial court
determined that the pleas were freely and voluntarily made.  Appellant's judicial confession was
introduced into evidence to support any judgment to be entered.  See Tex. Code Crim. Proc. Ann.
art. 1.15 (West Supp. 2004).  At this point in the unitary trial, see Barfield v. State, 63 S.W.3d 446,
450-511 (Tex. Crim. App. 2001), the trial court withheld any ruling until it read the presentence
investigative report earlier prepared at appellant's request.  Without a break in the trial, the trial court
then announced that it would allow evidence on punishment.  The presentence investigative report
showed that appellant had been convicted six times of driving while intoxicated, the first being in
1982.  Appellant had also been convicted of driving while license suspended, resisting arrest,
"criminal attempt," and unlawfully carrying a weapon.  Several other charges had been dismissed. 
After the trial court indicated it had read the presentence investigative report, the State declined to
offer further effort.  Appellant's counsel called the trial court's attention to a letter in the presentence
report that appellant had been accepted into a veteran administration's outpatient substance abuse
program for alcoholism and the treatment of other medical conditions.  

	Thereafter, the trial court imposed a five years' imprisonment sentence on appellant. 
The record then reflects:


Mr. Harris [defense counsel]:	Your Honor, the Court will not consider the VA
program at all?


The Court:	I'm not even going to send him to S.A.F.P.F.  He
needs to go to the big prison in Huntsville.



Discussion

	In support of his point of error, appellant simply cites article 1.09 for the proposition
that cruel and unusual punishment is forbidden.  See Tex. Code Crim. Proc. Ann. art. 1.09 (West
1977).  No constitutional authorities are cited.  See U.S. Const. Amend. VIII; Tex. Const. art. I, § 13. 
In order to preserve error for appellate review, there must be a timely, specific trial objection.  See
Tex. R. App. P. 33.1; DeBlanc v. State, 799 S.W.2d 701, 718 (Tex. Crim. App. 1990).  Even
constitutional error may be waived by the failure to object.  See Briggs v. State, 789 S.W.2d 918, 924
(Tex. Crim. App. 1990); Quintana v. State, 777 S.W.2d 474, 479 (Tex. App.--Corpus Christi 1989,
pet. ref'd).  Appellant did not raise the issue of the severity of the punishment at trial by objection
or by motion for new trial.  See Chapman v. State, 859 S.W.2d 509, 515 (Tex. App.--Houston [1st
Dist.] 1995, reversed on other grounds, 921 S.W.2d 694 (Tex. Crim. App. 1996); Quintana, 777
S.W.2d at 479.  Moreover, a legal theory advanced on appeal must normally comport with a trial
objection.  See Rezac v. State, 782 S.W.2d 869, 870 (Tex. Crim. App. 1990).  Still further, as the
State points out, appellant's brief, cites only "article 1.9."  Without the citation of other authorities
or any supporting argument, it does not comply with our briefing rules.  Nothing is presented for
review.  See Tex. R. App. P. 38.1(h); Tong v. State, 25 S.W.3d 707, 710 (Tex. Crim. App. 2000);
McDuff v. State, 939 S.W.2d 607, 621 (Tex. Crim. App. 1997).

	The trial court assessed appellant's punishment at five years' imprisonment within
the range of penalties for the third degree felony charged and proven.  See Tex. Pen. Code Ann.
§&nbsp;49.09(b)(2) (West 2003).  A third degree felony offense carries a penalty of not more than ten nor
less than two years' imprisonment and a possible fine not to exceed $10,000.  See Tex. Pen. Code
Ann. § 12.34 (West 2003).  Assessment of punishment is not excessive nor is it cruel and unusual
punishment where the penalty assessed is within the statutory limits or range of punishment set by
the Legislature for the offense involved regardless of mitigating circumstances.  See Poe v. State, 513
S.W.2d 545, 548 (Tex. Crim. App. 1974); Williams v. State, 476 S.W.2d 674, 675 (Tex. Crim. App.
1972); see also Rummel v. Estelle, 445 U.S. 263, 285-86 (1980); McNew v. State, 608 S.W.2d 166,
174 (Tex. Crim. App. 1978); Cantu v. State, 546 S.W.2d 621, 623 (Tex. Crim. App. 1977).  It cannot
be said that the punishment assessed here was excessive or that it was a cruel and unusual
punishment.  

	The record reflects that the presentence investigative report, requested by appellant,
was read by the trial court and was before the court when sentence was imposed.  Obviously, this
report established appellant's alcoholism over a twenty-year period resulting in a number of alcohol
related offenses and convictions.  There is nothing in the record to reflect that the trial court was
unaware of appellant's alcoholism and did not consider it. (2)  In fact, the contrary appears.  No motion
for community supervision or probation was filed nor was appellant's eligibility therefor
established. (3)  Appellant has failed to point out what alternative form of punishment was available
to the trial court.  

	Appellant's point of error is without merit.  It is overruled.  

	The judgment is affirmed.



	                                                                                     

	John F. Onion, Jr., Justice

Before Justices Kidd, B. A. Smith and Onion*

Affirmed

Filed:   April 29, 2004

Do Not Publish





*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. §&nbsp;74.003(b) (West 1998).
1. &nbsp;&nbsp;Despite the heading or label on the statutes, the body of the statutes themselves refers to
"operating"  rather than "driving" a motor vehicle in a public place while intoxicated.  See Tex. Pen.
Code Ann. §§ 49.04, 49.09(b) (West 2003).  The terms "driving while intoxicated" and "DWI" are
still commonly used, but are no longer accurate.
2. &nbsp;&nbsp;Appellant did not file a motion for new trial.  Tex. R. App. P. 21.2.  A motion for new trial
is necessary to adduce facts not in the record.  Id.
3. &nbsp;&nbsp;The presentence investigative report in this record shows that appellant had been previously
granted community supervision three times, two of which grants resulted in revocation of community
supervision.


